EXHIBIT A
                                                                                     ELECTRONICALLY FILED
                                                                 2/15/2018 2:38 PM
                                                                   2018-L-001676
                                                                  CALENDAR: E
                                                                    PAGE 1 of 11
                    IN THE CIRCUIT COURT OF COOK COUNTY, ELLINOISIRCUIT COURT OF
                          COUNTY DEPARTMENT - LAW DIVISION COOK COUNTY;., ILLINOIS
                                                                  LAWDIVbION
                                                             CLERK DOROTHY BROWN
SEAN JORDAN,                                             )
                                                         )
               Plaintiff,                                )
                                                         )
               V.                                        )    No.
                                                         )
GENERAL NUTRITION CORPORATION;                           )
GNC HOLDINGS, INC., and GN OLDCO                         )
CORPORATION,                                             )
                                                         )
               Defendants.                               )

                                        COMPLAINT AT LA\V

       NOW COMES the Plaintiff, SEAN JORDAN, by and through his attorneys, THE LAW

OFFICES OF SCOTT A. KOGEN & ASSOCIATES, P.C., and complains of the Defendants,

GENERAL NUTRITION CORPORATION, GNC HOLDINGS, INC., and GN OLDCO

CORPORATION, as follows:

                                             THE PARTIES

       1.     Plaintiff, Sean Jordan, is a resident and citizen of the State of lllinois.

       2.     Defendant General Nutrition Corporation ("GNC") is a subsidiary corporation of GNC

Holdings, Inc., with its headquarters in Pittsburgh, Pennsylvania, and does substantial business selling

health, wellness and performance products, which include protein, performance supplements, weight

management supplements, vitamins, herbs and greens, wellness supplements, health and beauty, food

and drink, and other general merchandise, in Cook County, Illinois.

       3.     Defendant GNC Holdings, Inc. ("GNC Holdings") is a Pennsylvania corporation, and

does substantial business selling health, wellness and performance products, which include protein,

performance supplements, weight management supplements, vitamins, herbs and greens, wellness

supplements, health and beauty, food and drink, and other general merchandise, through its subsidiary,


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            General Nutrition Corporation in Cook County, Illinois.

                    4.     Defendant GN Oldco Corporation ("Oldco") is a Pennsylvania corporation which

            became a qualifying foreign corporation in Illinois in 1971, and does substantial business selling health,

            wellness and performance products, which include protein, performance supplements, weight

            management supplements, vitamins, herbs and greens, wellness supplements, health and beauty, food

            and drink, and other general merchandise, in Cook County, Illinois.

                                                 FACTUAL ALLEGATIONS

                   5.     At all times material hereto, GNC, GNC Holdings and Oldco designed, manufactured,

            marketed, labeled, packaged and sold dietary supplement drug products, including the GNC LIVE

            LEAN & Fit Pack Dietary Supplement (hereinafter the "Product").

0                  6.
r..u                      On or about February of 20 I 6, Plaintiff purchased the Product.
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                   7.     On or about February 25, 2016, while at this home, Plaintiff took his first pack of the
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~ ~ 3 ~roduct, pursuant the instructions included on the box, which stated, "[a]s a dietary supplement, take
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(: ~ ~ c..rhe contents of one pack daily."
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r..u              8.     On or about February 25, 2016, within about an hour of taking the first pack of the

        Product, Plaintiff began sweating, feeling lightheaded, and exhibited numbness in his fingers and

        hands.

                  9.      On or about February 25, 2016, within about an hour of taking the first pack of the

        Product, Plaintiffs perception and equilibrium were negatively impacted.

                  10.    As a result of conditions referenced in Paragraphs 7 and 8 above, on February 25, 2016,

        Plaintiff was witnessed by an individual, who was working in Plaintiffs home at the time, walking into

        a door and a wall.

                  11.    Plaintiff suffered a laceration on his right eyebrow as a result of his walking into a door.

                  12.    The individual working in Plaintiffs home at the time, on February 25, 2016, called

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               emergency services and an ambulance was dispatched to Plaintiffs home. Plaintiff was taken to Lake

              Forest Hospital ("LFH") in Lake Forest, Illinois.


                      13.         Upon arrival to the emergency room at LFH, Plaintiff was treated for delirium, a

              headache, and tingling and weakness in his left side.


                      14.         During his visit in the emergency room at LFH, Plaintiff had a seizure, which required

              intubation for airway protection.


                     15.          On February 25, 2016, Plaintiff was transferred to Northwestern Memorial Hospital

              C'Northwestem") in Chicago, 1llinois for further treatment and observations.

                                                                  COUNTI

                                                             Negligence - GNC
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 ~                               Plaintiff hereby incorporates by reference the allegations contained in all preceding
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                             This Defendant was negligent in failing to use reasonable care as described herein in

          designing, manufacturing, marketing, labeling, packaging and selling the Product. This Defendant

         breached its aforementioned duty by, among other things:

                             a.        Failing to design the Product so as to avoid an unreasonable risk of harm to
                                       persons who used the Product as directed on the packaging, including the
                                       Plaintiff named in this Complaint;

                            b.         Failing to manufacture the Product so as to avoid an unreasonable risk of harm
                                       to persons who used the Product as directed on the packaging, including the
                                       Plaintiff named in this Complaint;

                            c.         Failing to use reasonable care in the testing of the Product so as to avoid an
                                       unreasonable risk of harm to persons who used the Product as directed on the
                                       packaging, including the Plaintiff named in this Complaint;

                            d.        Failing to use reasonable care in inspecting the Product so as to avoid an

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                                     unreasonable risk of harm to persons who used the Product as directed on the
                                     packaging, including the Plaintiff named in this Complaint;

                             e.     Failing to use reasonable care in studying and/or testing the Product to evaluate
                                    their safety and to determine the nature, magnitude, and frequency of serious, life
                                    threatening complications that were known or knowable; and

                             f.     Otherwise negligently or carelessly designing, manufacturing, marketing,
                                    labeling, packaging and/or selling the Product.

                     19.    This Defendant failed to warn, or adequately or sufficiently warn, either directly or

             indirectly, the foreseeable users, including Plaintiff, of the potential health hazards associated with the

             use of the Product.


                    20.     This Defendant systematically failed to represent accurately to the Plaintiff, either

             directly or indirectly, that the Product can pose a health hazard and injure or cause death to persons by

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~ ~ ~ C,_u;ers, whereby Plaintiff was induced to purchase the Product.
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d                  22.     This Defendant, at all times, failed, and continues to fail, to perform their duties to warn
          and recall.

                   23.     Upon information and belief, this Defendant's actions, as alleged, constitute violations

         of statutory and regulatory provisions.

                   24.     As a direct and proximate result of one or more of the aforesaid negligent and careless

         omissions of this Defendant, Plaintiff then and there sustained severe and permanent bodily injury and

         was, and will be hindered a1'.d prevented from attending to his usual duties and affairs of life, and has

         lost and will continue to lose, the value of that time as aforementioned. Further, Plaintiff suffered great

         pain and anguish, both in mind and body, and will in the future continue to suffer. Plaintiff further

         expended and became liable for large sums of money for medical care and services, and will, in the

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                   future, expend money for medical care and services endeavoring to become healed and cured of said
                   injuries.

                                                                 COUNT II

                                                      Strict Product Liability - GNC

                          25.    Plaintiff hereby incorporates by reference the allegations contained in all preceding

                  paragraphs of this Complaint.

                          26.    This Defendant, which is engaged in the business of designing, manufacturing,

                  marketing, labeling, packaging and selling dietary supplement drug products, designed, manufactured,

                  marketed, labeled, packaged and sold the aforementioned Product, and placed the Product into the

                  stream of commerce in a defective and unreasonably dangerous condition such that the foreseeable

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        00 IQ -          27.    Plaintiff is in the class of persons that this Defendant should reasonably foresee as being
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~~3 ~ubject to the harm caused by defectively manufactured product insofar as Plaintiff was the type of
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li3                      28.    The Product, as used by Plaintiff, was defective and unreasonably dangerous, and unfit

              for intended use because of the deleterious and highly harmful effects that affected Plaintiff.

                         29.    As a direct and proximate cause of Plaintiff using Defendant's defective and

             unreasonably dangerous product, Plaintiff has suffered damage.

                        WHEREFORE, Plaintiff, SEAN JORDAN, seeks judgment against Defendant, GENERAL

             NUTRITION CORPORATION, as follows: in an amount exceeding $50,000.00, exclusive costs and

             expenses, an award of Plaintiffs reasonable attorneys fees, expenses to the full extent by law, and

             punitive damages to the full extent by law.




                                                              COUNTIII

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                                            Negligence- GNC Holdings

          30.         Plaintiff hereby incorporates by reference the allegations contained in all preceding

  paragraphs of this Complaint.

         31.         This Defendant had a duty to individuals, including Sean Jordan, to use reasonable care

  in designing, manufacturing, marketing, labeling, packaging and selling the Product.

         32.         This Defendant was negligent in failing to use reasonable care as described herein in

 designing, manufacturing, marketing, labeling, packaging and selling the Product. This Defendant

 breached its aforementioned duty by, among other things:

                 a.         Failing to design the Product so as to avoid an unreasonable risk of harm to
                            persons who used the Product as directed on the packaging, including the
                            Plaintiff named in this Complaint;

                 b.         Failing to manufacture the Product so as to avoid an unreasonable risk of harm
                            to persons who used the Product as directed on the packaging, including the
                            Plaintiff named in this Complaint;

                 C.        Failing to use reasonable care in the testing of the Product so as to avoid an
                           unreasonable risk of harm to persons who used the Product as directed on the
                           packaging, including the Plaintiff named in this Complaint;

                 d.        Failing to use reasonable care in inspecting the Product so as to avoid an
                           unreasonable risk of harm to persons who used the Product as directed on the
                           packaging, including the Plaintiff named in this Complaint;

                e.         Failing to use reasonable care in studying and/or testing the Product to evaluate
                           their safety and to determine the nature, magnitude, and frequency of serious, life
                           threatening complications that were known or knowable; and

                f.         Otherwise negligently or carelessly designing, manufacturing, marketing,
                           labeling, packaging and/or selling the Product.

       33.      This Defendant failed to warn, or adequately or sufficiently warn, either directly or

indirectly, the foreseeable users, including Plaintiff, of the potential health hazards associated with the

use of the Product.

       34.      This Defendant systematically failed to represent accurately to the Plaintiff, either


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                 directly or indirectly, that the Product can pose a health hazard and injure or cause death to persons by

                 its adverse side-effects or that the Product was defective.


                        35.     This Defendant failed to represent accurately to Plaintiff, either directly or indirectly,

                that the Product, used for its ordinary and intended purpose, can pose a health hazard and/or injure

                users, whereby Plaintiff was induced to purchase the Product.

                        36.     This Defendant, at all times, failed, and continues to fail, to perform their duties to warn

                and recall.


                       37.     Upon information and belief, this Defendant's actions, as alleged, constitute violations

                of statutory and regulatory provisions.


                       38.     As a direct and proximate result of one or more of the aforesaid negligent and careless
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                omissions of this Defendant, Plaintiff then and there sustained severe and permanent bodily injury and

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            expended and became liable for large sums of money for medical care and services, and will, in the

            future, expend money for medical care and services endeavoring to become healed and cured of said
           injuries.

                                                              COUNTIV

                                              Strict Product Liability - GNC Holdings

                      39.     Plaintiff hereby incorporates by reference the allegations contained in all preceding

           paragraphs of this Complaint.

                     40.      This Defendant, which is engaged in the business of designing, manufacturing,

           marketing, labeling, packaging and selling dietary supplement drug products, designed, manufactured,

           marketed, labeled, packaged and sold the aforementioned Product, and placed the Product into the

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                   stream of commerce in a defective and unreasonably dangerous condition such that the foreseeable

                   risks exceeded the benefits associated with the formulation of the Product.

                          41.        Plaintiff is in the class of persons that this Defendant should reasonably foresee as being

                  subject to the harm caused by defectively manufactured product insofar as Plaintiff was the type of

                  person for whom the Product was intended to be used.

                         42.         The Product, as used by Plaintiff, was defective and unreasonably dangerous, and unfit

                  for intended use because of the deleterious and highly harmful effects that affected Plaintiff.

                         43.         As a direct and proximate cause of Plaintiff using Defendant's defective and

                  unreasonably dangerous product, Plaintiff has suffered damage.

                         WHEREFORE, Plaintiff, SEAN JORDAN, seeks judgment against Defendant, GNC

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UJ                HOLDINGS, INC., as follows: in an amount exceeding $50,000.00, exclusive costs and expenses, an
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E-::: N                                                            COUNT III
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                                                      Negligence - GN Oldco Corporation

                        44.      Plaintiff hereby incorporates by reference the allegations contained in all preceding

             paragraphs of this Complaint.

                        45.     This Defendant had a duty to individuals, including Sean Jordan, to use reasonable care

            in designing, manufacturing, marketing, labeling, packaging and selling the Product.

                        46.     This Defendant was negligent in failing to use reasonable care as described herein in

            designing, manufacturing, marketing, labeling, packaging and selling the Product. This Defendant

           breached its aforementioned duty by, among other things:

                                a.        Failing to design the Product so as to avoid an unreasonable risk of harm to
                                          persons who used the Product as directed on the packaging, including the
                                          Plaintiff named in this Complaint;

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                               b.     Failing to manufacture the Product so as to avoid an unreasonable risk of harm
                                      to persons who used the Product as directed on the packaging, including the
                                      Plaintiff named in this Complaint;

                              c.     Failing to use reasonable care in the testing of the Product so as to avoid an
                                     unreasonable risk of harm to persons who used the Product as directed on the
                                     packaging, including the Plaintiff named in this Complaint;

                              d.     Failing to use reasonable care in inspecting the Product so as to avoid an
                                     unreasonable risk of harm to persons who used the Product as directed on the
                                     packaging, including the Plaintiff named in this Complaint;

                              e.     Failing to use reasonable care in studying and/or testing the Product to evaluate
                                     their safety and to determine the nature, magnitude, and frequency of serious, life
                                     threatening complications that were known or knowable; and

                             f.      Otherw ise negligently or carelessly designing, manufacturing, marketing,
                                     labeling, packaging and/or selling the Product.

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                   48.       This Defendant systematically failed to represent accurately to the Plaintiff, either

~          directly or indirectly, that the Product can pose a health hazard and injure or cause death to persons by

           its adverse side-effects or that the Product was defective.

                  49.       This Defendant failed to represent accurately to Plaintiff, either directly or indirectly,

          that the Product, used for its ordinary and intended purpose, can pose a health hazard and/or injure

          users, whereby Plaintiff was induced to purchase the Product.

                  50.       This Defendant at all times, failed, and continues to fail, to perform their duties to warn
          and recall.

                  51.      Upon information and belief, this Defendant's actions, as alleged, constitute violations
         of statutory and regulatory provisions.

                 52.       As a direct and proximate result of one or more of the aforesaid negligent and careless

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                  omissions of this Defendant, Plaintiff then and there sustained severe and permanent bodily injury and

                  was, and will be hindered and prevented from attending to his usual duties and affairs of life, and has

                  lost and will continue to lose, the value of that time as aforementioned. Further, Plaintiff suffered great

                  pain and anguish, both in mind and body, and will in the future continue to suffer. Plaintiff further

                  expended and became liable for large sums of money for medical care and services, and will, in the

                  future, expend money for medical care and services endeavoring to become healed and cured of said

                  injuries.


                                                                 COUNT IV

                                            Strict Product Liability - GN Oldco Corporation

                          53.    Plaintiff hereby incorporates by reference the allegations contained in all preceding
 0            paragraphs of this Complaint.
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                         54.     This Defendant, which is engaged in the business of designing, manufacturing,
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              stream of commerce in a defective and unreasonably dangerous condition such that the foreseeable

             risks exceeded the benefits associated with the formulation of the Product.

                         55.    Plaintiff is in the class of persons that this Defendant should reasonably foresee as being

             subject to the harm caused by defectively manufactured product insofar as Plaintiff was the type of

             person for whom the Product was intended to be used.

                        56.     The Product, as used by Plaintiff, was defective and unreasonably dangerous, and unfit

             for intended use because of the deleterious and highly harmful effects that affected Plaintiff.

                        57.     As a direct and proximate cause of Plaintiff using Defendant's defective and

             unreasonably dangerous product, Plaintiff has suffered damage.

                        WHEREFORE, Plaintiff, SEAN JORDAN, seeks judgment against Defendant, GN OLDCO

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CORPORATION, as follows: in an amount exceeding $50,000.00, exclusive costs and expenses, an

award of Plaintiffs reasonable attorneys fees, expenses to the full extent by law, and punitive damages

to the full extent by law.

                                                                  Respectfully submitted,

                                                                   ls/Scott A. Kogen

                                                                  Counsel for Plaintiff

The Law Offices of Scott A. Kogen & Associates, P.C.
Counsel for Plaintiff
100 N. LaSalle Street, Suite 2400
Chicago, Illinois 60602
T: (312) 782-7341
Attorney Code# 32193




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